                                                                                      CLERK'S OFFICE U.S. DIST. COURT
                                                                                                AT ROANOKE, VA
                                                                                                     FILED

                                                                                                MAY 2 2 2019
                             IN THE UNITED STATES DISTRICT COURT                           JU
                                                                                         BY:
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION


  ALICE PERDUE,                                         )
                                                        )
          Plaintiff,                                    )    Civil Action No. 7:18CV00416
                                                        )
  v.                                                    )    MEMORANDUM OPINION
                                  )
  ROCKYDALE QUARRIES CORPORATION, )                          By: Hon. Glen E. Conrad
                                  )                          Senior United States District Judge
      Defendant.                  )


          Alice Perdue · filed this action against her former employer, Rockydale Quarries

  Corporation ("Rockydale"), asserting claims under Title VII of the Civil Rights Act of 1964

  ("Title VII"), the Equal Pay Act of 1963("Equal Pay Act" or "EPA"), and Virginia law. The case

  is presently before the court on the defendant's motion to dismiss. For the reasons set forth

  below, the motion will be granted in part and denied in part.

                                                 Background

          The following facts are taken from the complaint and employment documents referenced

  therein. See Phillips v. LCI Int'l, Inc., 190 F.3d 609, 618 (4th Cir. 1999) (noting that the court

  could properly consider a document submitted by the defendant in determining whether to dismiss

  the complaint "because it was integral to and explicitly relied on in the complaint").

          On June 27, 2014, Perdue      accepted·~   supervisory position with Rockydale. Offer Letter,

  Dkt. No. 10-2, at 1. 1 Perdue initially requested an annual salary of $65,000. Compl.              'If 9, Dkt.
  No. 1. However, the plaintiff ultimately agreed to accept a lower salary. See Offer Letter at 1

  ("For this position, your starting compensation will be $923.08 per week, which is equivalent to an

  annual amount of$48,000."); Id. at 2 ("I agree to the terms ofthe employment set forth above.").

          1
              The offer letter refers to the position as "Dispatch Supervisor." Offer Letter at 1. The complaint
  refers to the position as "Scale House Supervisor." Compl. ~ 5, Dkt. No. 1.




Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 1 of 17 Pageid#: 268
  Perdue alleges that she only did so because Gary Hubbard, who signed the offer letter on behalf of

  Rockydale, "promise[d) that if she proved herself, her salary would increase to $65,000 within six

  months." Compl. ~ 9.

          Perdue's benefits package also included use of a company vehicle.                Specifically,

  Rockydale agreed to provide a company vehicle for Perdue to use for "business travel only."

  Offer Letter at 1. The defendant also agreed to cover the company vehicle's gas, maintenance,

  and insurance. Id.

          Perdue's first day of work was July 2, 2014. Compl.            ~   7. That same day, Perdue

  acknowledged receiving a copy of Rockydale's employee handbook. Receipt for Employee

  Handbook, Dkt. No. 14-1. The handbook provided that "[a]ll pay increases for employees shall

  be in writing." Employee Handbook, Dkt. No. 14-1, at 14.

          Perdue subsequently learned that her predecessor, Cooper Maxey, "had use of a company

  truck for business travel and his work commute. Compl.        ~   8 (emphasis added). The same was

  true for other male supervisors. Id.    ~   10. However, "Rockydale never provided [Perdue] with

  the full use of a company truck." Id.

          In addition to this alleged disparity, Perdue claims that she was subjected to "continuous

  sexual harassment" while working for Rockydale, and that such harassment included "name

  . calling, swearing, angry outbursts, yelling, belittlement, crude statements, and gestures." Id. ~ 11.

  For instance, Blue Hill, a scale operator at Rockydale's Jacks Mountain location, "regularly called

  Perdue an asshole, idiot, and bitch," and "informed Perdue that Rockydale should never have hired

  a 'girl' to do 'a man's job."' Id.     ~    13. When Perdue reported her coworker's behavior to

  Hubbard, he simply "laughed and said, 'Well, Blue is Blue." Id.

          According to the complaint, Hill was not the only employee who engaged in rude or

  offensive behavior. "Male truck drivers swore at Perdue and threw tickets at her." Id.           ~   14.

                                                     2


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 2 of 17 Pageid#: 269
  Additionally, Charlie Underwood, a loader driver, "regularly called Perdue names and taunted

  oth~r male drivers who were professional with her." Id. 'If 15. "His taunts were crude and sexual

  in nature and made over radio channels that were audible to numerous employees and drivers."

  Id. After learning that Perdue had complained about his behavior to the general manager, Mike

  Chopski, Underwood confronted Perdue and swore at her for reporting him. Id. '1['1[ 15-16.

              In early June 2016, Hill attempted to have Perdue fired by arranging for a Rockydale driver

  to falsely claim that Perdue was sexually harassing the driver. Id.            'If   17. Although Rockydale

  learned during a subsequent investigation that the allegation of harassment was "Hill's

  fabrication," Hill retained his position and continued to harass the plaintiff, "calling her names

  such as 'bitch,' 'stupid,' and 'idiot' whenever he spoke to her." Id. Although Perdue reported

  Hill's conduct to her supervisor, Rockydale did not take "sufficient action" to stop it. Id.

              In August of2016, "Perdue asked her supervisor, Chris Willis, about the raise she still had

  not received and about the company truck." Id.           'If 18.   Perdue alleges that "Willis promised the

  raise and the truck, but neither ever happened, despite Perdue following up with Willis several

  times." Id.
                                     i
              In May of 2017, Perdue complained to Chopski about comments made by a male driver.

  Id.   'If 20.   Chopski shared Perdue's complaint,with the offending employee, which caused further

  problems. Id. Perdue alleges that employees and contract drivers began referring to her as a

  "'rat bitch,"' and that Hill threatened to "get her." Id. '1['1[ 20, 21. Efforts to report the behavior

  proved ineffective. John Basham, another supervisor, called her "stupid and dumb" when she

  complained about the male drivers, and "harassed Perdue for reporting improper practices to

  management." Id.         'If 23.
              Perdue received positive performance reviews during her employment. Her June 27,

  2017 evaluation included a score of 4.15 on a scale of 5, which signified that her work "almost

                                                       3


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 3 of 17 Pageid#: 270
  always exceeds expectations."           Id. ~ 25.   The evaluation also listed multiple "Employee

  Strengths." Id. (internal quotation marks omitted).

         In September of 2017, the plaintiffs husband, G.R. Perdue ("G.R."), began working for

  Kenneth Foley, a company that picked up loads of materials from Rocky dale. Id. ~ 27. G.R. had

  previously worked for another hauler in the same capacity. Id.            ~   26. Management officials at

  Rocky dale were aware of both of these jobs held by G.R., and they "never expressed any concern,

  or indicated that it was a 'potential conflict of interest' for Perdue's husband to work for a

  company that was picking up loads from Rockydale." Id. ~ 26. Nonetheless, on October 3, 2017,

  Willis advised Perdue that G.R.'s employment with Foley was a potential conflict of interest that

  should have been reported to management. Id. ~ 32.

         When Perdue returned to work on October 11, 2017, Rockydale terminated her

  employment for failing to report the potential conflict of interest. Id.         ~   37. Perdue alleges that

  Rockydale failed to provide her with any of the procedural safeguards outlined in the company's

  employee handbook prior to her termination, and that the company treated her differently than

  "[m]ale employees who acted in direct conflict with the company's interests and who violated

  other company policies."      Id.   ~   68.   For instance, although Perdue witnessed and reported

  conduct by the scale house employees that caused Rockydale to lose revenue, "no employee was

  terminated or disciplined for this actual conflict of interest." Id. ~ 39.

         At the time of Perdue's termination, "Rockydale informed her that her health insurance

  would end at midnight that night, and that she could not receive her 401 (k) for which she [was]

  fully vested, until one year after her termination." Id.         ~   37. Perdue subsequently requested a

  hardship distribution from her 401(k) plan. Id.         ~   51. Rockydale denied the plaintiffs request

  and once again advised her that she would need to wait a year before withdrawing funds from the

  account. Id. ~~50-51.

                                                      4


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 4 of 17 Pageid#: 271
         Perdue was previously diagnosed with lupus, fibromyalgia, and arthritis. Id.        ~53.   She

  alleges that "[t]hese conditions were exacerbated by the harassment and mistreatment she suffered

  during her tenure at Rockydale," and that she experienced "elevated stress, nausea, insomnia, and

  an upset stomach from the harassment." Id. On multiple occasions, Perdue sobbed in her office

  and experienced physical shaking that was so intense that she could not type at her desk. Id. Her

  doctor prescribed Cymbalta for depression and anxiety, and a muscle relaxant to help her sleep at

  night. Id. ~ 54. Perdue also had to get knee injections every time she experienced stress-related

  lupus "flares."   Id.   Perdue alleges that she continues to experience similar physical and

  emotional problems "resulting from the harassment and unjustified termination of her employment

  by Rockydale." Id. ~ 58.

                                          Procedural History

          Following her termination, Perdue filed a timely charge of sexual discrimination and

  harassment with the Equal Employment Opportunity Commission ("EEOC"). Id.              ~   4. ·At the

  time this action was filed, the EEOC charge had been pending for more than 180 days, but the

  agency had not yet issued a right-to-sue letter. Id. Perdue has since received a right-to-sue letter

  from the EEOC. See Notice ofRight to Sue, Dkt. No. 13-1.

         In Counts I and II of her complaint, Perdue asserts claims of sexual discrimination and

  harassment in violation of Title VII. In Count III, Perdue claims that Rockydale violated the

  Equal Pay Act. In Count IV, Perdue asserts a claim for breach of contract. In Count V, Perdue

  asserts a claim of intentional infliction of emotional distress.

         Rockydale has moved to dismiss the complaint under Rules 12(b)(l) and 12(b)(6) of the

  Federal Rules of Civil Procedure. The defendant's motion has been fully briefed and argued and

  is now ripe for disposition.



                                                     5


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 5 of 17 Pageid#: 272
                                         Standards of Review

         Rule 12(b)(1) ofthe Federal Rules of Civil Procedure permits a party to move for dismissal

  of an action for lack of subject matter jurisdiction. The plaintiff bears the burden of proving that

  subject matter jurisdiction exists. Evans v. B. F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999).

  Dismissal for lack of subject matter jurisdiction is appropriate "if the material jurisdictional facts

  are not in dispute and the moving party is entitled to prevail as a matter of law." Id. (internal

  citation and quotation marks omitted). In deciding a motion to dismiss for lack of subject matter

  jurisdiction, the court may "regard the pleadings as mere evidence on the issue, and may consider

  evidence outside the pleadings without converting the proceeding to one for summary judgment."



         Rule 12(b)(6) permits a party to move for dismissal of a complaint for failure to state a

  claim upon which relief can be granted. When deciding a motion to dismiss under this rule, the

  court must accept as true all well-pleaded allegations and draw all reasonable factual inferences in

  the plaintiffs favor. Erickson v. Pardus, 551 U.S. 89, 94 (2007). "While a complaint attacked

  by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiffs

  obligation to provide the grounds of [her] entitlement to relief requires more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not do." Bell Atl.

  Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citation and quotation marks omitted). To

  survive dismissal, "a complaint must contain sufficient factual matter, accepted as true, to 'state a

  claim for relief that is plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
                                              "
  (quoting Twombly, 550 U.S. at 570); see also Jones v. Bock, 549 U.S. 199, 215 (2007) ("A

  complaint is subject to dismissal for failure to state a claim if the allegations, taken as true, show

  the plaintiff is not entitled to relief. If the allegations, for example, show that relief is barred by

  the applicable statute oflimitations, the complaint is subject to dismissal .... ").

                                                    6


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 6 of 17 Pageid#: 273
                                                  Discussion

          I.      Motion to Dismiss under Rule 12(b)(l)

          Rocky dale has moved to dismiss the Title VII claims for lack of subject matter jurisdiction.

  In particular, Rockydale argues that Perdue failed to exhaust her administrative remedies prior to

  filing suit.

          Title VII creates a federal cause of action for employment discrimination. Davis v. N.C.

  Dep't of Corr., 48 F.3d 134, 136-37 (4th Cir. 1995). "Before a federal court may assume

  jurisdiction over a claim under Title VII, however, a claimant must exhaust the administrative

  procedures enumerated in 42 U.S.C. § 2000e-5(b), which include an investigation of the complaint

  and a determination by the EEOC as to whether 'reasonable cause' exists to believe that the charge

  of discrimination is true."       ld. at 137 Section 2000e-5(b) "requires that the EEOC decide

  whether the agency will bring the claim in federal court or whether the complainant will be issued

  a right-to-sue letter, which letter is essential to initiation of a private Title VII suit in federal court."

  ld. at 138 (citations omitted).

          The United States Court of Appeals for the Fourth Circuit has "long held that receipt of, or

  at least entitlement to, a right-to-sue letter is a jurisdictional prerequisite that must be alleged in a

  plaintiffs complaint." ld. at 140 (emphasis added); see also Perdue v. Roy Stone Transfer Corp.,

  690 F.2d 1091, 1093 (4th Cir. 1982) ("It is entitlement to a 'right to sue' notice, rather than its

  actual issuance or receipt, which is a prerequisite to the jurisdiction of the federal courts under

  § 2000e-5(f)(1)."). "Under federal law, the EEOC has 180 days to process a claim and notify the

 . complainant of the result." Burgh v.Borough Council of Montrose, 251 F.3d 465, 468 n.2 (3d

  Cir. 2001 ). Once the 180-day period expires, a complainant may request a right-to-sue letter from

  the EEOC, and the agency must "promptly issue" such letter. 29 C.F.R. § 1601.28(a)(1).



                                                       7


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 7 of 17 Pageid#: 274
           In this case, Perdue expressly alleged in her complaint that more than 180 days had passed

  since she filed her charge of discrimination with the EEOC. See Compl. ~ 4. Consistent with the

  majority of district courts in the Fourth Circuit, the court concludes that the plaintiff was "entitled"

  to a right-to-sue letter at the time her complaint was filed, and that the court therefore has subject

  matter jurisdiction over her Title VII claims. See Barnes v. Shulkin, No. 1:16-cv-00940, 2018

  U.S. Dist. LEXIS 9585, at *20 (M.D.N.C. Jan. 22, 2018) ("Barnes waited more than 180 days after

  filing his second EEOC complaint to file his complaint with this court, and the EEOC had not

  made a final decision on Barnes's complaint at that time. Thus, it appears as though Barnes

  exhausted his remedies and the issues presented in his second EEOC complaint are properly before

  this court._"); Weathersbee v. Balt. City Fire Dep't, 970 F. Supp. 2d 418,426 n.5 (D. Md. 2013) ("If

  the required time period [for issuing a right-to-sue letter] elapses, the jurisdictional prerequisites

  ar~   satisfied,regardlessofwhetherthe EEOC actually issues a right-to-sue letter."); Veliaminov v.

  P.S. Bus. Parks, 857 F. Supp. 2d 589, 593 (E.D. Va. 2012) ("Here, Plaintiff had not heard from the

  EEOC in well over 180 days .... Plaintiff was entitled to a right-to-sue letter regarding his Title

  VII claims at the time he filed the Complaint in this Court. Thus, this Court has subject matter

  jurisdiction ov_er Plaintiff's Title VII claims."); but see Gardner v. Md. Mass Transit Admin., No.

  1:18-cv-00365, 2018 U.S. Dist. LEXIS 80511, at *13 (D. Md. May 14, 2018) (finding that "a

  better answer to when a plaintiff is 'entitled' to a right-to-sue letter is not when she 'could receive'

  the letter, but when she 'should receive' the letter," which "will vary from case to case").

           Moreover, the record reflects that Perdue has since received a right-to-sue letter from the

  EEOC.       Consequently, the court agrees with the plaintiff that the purported jurisdictional

  defici~ncy   has been "cured." Veliaminov, 857 F. Supp. 2d at 594; see also Leuenberger v. Spicer,

  No. 5:15-cv-00036, 2016 U.S. Dist. LEXIS 10074, at *11 n.2 (W.D. Va. Jan. 28, 2016) (noting

  that the defendant's exhaustion argument was "moot because [the plaintiff] received a right-to-sue

                                                     8


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 8 of 17 Pageid#: 275
  letter just a few days after defendants filed their motions to dismiss"). Accordingly, Perdue's

  Title VII claims are not subject to dismissal under Rule 12(b)(1).

         II.     Motion to Dismiss under Rule 12(b)(6)

         Rockydale has moved to dismiss Counts III, IV, and V under Rule 12(b)(6) for failure to

  state a claim. The court will address each count in tum.

         A.      Count III

         In Count III of the complaint, Perdue asserts a claim under the Equal Pay Act. Perdue

  originally alleged that Rocky dale discriminated against her "by paying lower compensation on the

  basis of sex for equal work" and by "refus[ing] to provide Perdue with a company truck in which to

  commute to and from work." Compl.        ~   97. However, Perdue has since narrowed this claim.

  During oral argument, Perdue represented that the EPA claim is based solely on the fact that,

  unlike her male predecessor, the plaintiff never received a company truck to use for commuting

  purposes.

         The EPA prohibits gender-based discrimination by employers resulting in unequal wages

  for equal work. 29 U.S.C.§ 206(d)(l); see also U.S. Equal Emp't Opportunity Comm'n v. Md.

  Ins. Admin., 879 F.3d 114, 120 (4th Cir. 2018). "Under the EPA, the term 'wages' generally

  includes all payments made to ... an employee as remuneration for employment." 29 C.F.R.

  § 1620.10. More specifically, the term "includes all forms of compensation," including "use of

  [a] company car," a "gasoline allowance," and other "[fjringe benefits." Id.

         Under the EPA, a plaintiff creates a presumption of discrimination when she establishes a

  prima facie case. Md. Ins. Admin., 879 F .3d at 120. A plaintiff establishes a prima facie case of

  discrimination "by demonstrating that (1) the defendant-employer paid different wages to an

  employee of the opposite sex (2) for equal work on jobs requiring equal skill, effort, and

  responsibility, which jobs (3) all are performed under similar working conditions." ld. Once a

                                                   9


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 9 of 17 Pageid#: 276
   plaintiff establishes a prima facie case, "the burdens of production and persuasion shift to the

   defendant-employer to show that the wage differential was justified by one of four affirmative

   defenses listed in the statute." Id. (emphasis in original). "These affirmative defenses are: (1) a

   seniority system; (2) a merit system; (3) a pay system based on quantity or quality of output; or (4)

   a disparity based on any other factor other than gender." Id. (citing 29 U.S.C. § 206(d)(1)).

              The Supreme Court has explained that proof of a prima facie case is an "evidentiary

   standard, not a pleading requirement." Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510 (2002).

   Accordingly, the plaintiff is not required to "plead facts establishing a prima facie case of

   discrimination to survive a motion to dismiss." McCleary-Evans v. Md. Dep't of Transp., 780

   F .3d 582, 585 (4th Cir. 2005). However, the plaintiff is "nonetheless 'required to allege facts to

   satisfy: the elements of a cause of action created by [the relevant] statute' in compliance with

   Iqbal."'      Woods v. City of Greensboro, 855 F.3d 639, 648 (4th Cir. 2017) (quoting

   McCleary-Evans, 780 F.3d at 585). Thus, the question at this stage ofthe proceedings is whether

   the plaintiff has stated a claim for relief under the EPA that is plausible, and not merely

   speculative. McCleary-Evans, 780 F.3d at 585-86.

              Applying this standard, the court concludes that Perdue's complaint adequately states a

   claim of discrimination in violation of the EPA. Perdue was hired to replace Cooper Maxey as the

   scale house supervisor. See Compl.      ~~   5, 8. Perdue alleges that she and her male predecessor

   worked under similar conditions and that their jobs required equal skill, effort, and responsibilities.

   Id.   ~   98. Nonetheless, they were not provided with the same benefits. Specifically, Perdue

   alleges that while "Maxey[] was provided with a company vehicle for commuting," Rockydale

   "refused to provide Perdue with a company truck in which to commute to and from work." ld.

   ~   97. While Rocky dale may ultimately disprove these allegations or establish that the alleged



                                                      10


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 10 of 17 Pageid#: 277
   disparity was justified by a reason other than gender, the court concludes that the allegations are

   sufficient to withstand the defendant's motion to dismiss.

          B.      CountiV

          In Count IV of the complaint, Perdue asserts a claim for breach of contract. In particular,

   Perdue alleges that she and Rocky dale "entered into a contract whereby, in exchange for her

   employment, Rockydale would ... compensate Perdue, in part, by providing a company truck for

   commuting" and "with a $17,000 raise after 6 months of employment." Id.          ~   106. Rockydale

   has moved to dismiss this count on multiple grounds. For the following reasons, the court

   concludes that Count IV is subject to dismissal.

          First, to the extent Perdue alleges that the parties agreed in the offer letter that "she would

   have use of a company yehicle for business travel and her work commute," Compl.        ~   8 (emphasis

   added), such allegation is belied by the document's plain terms. The offer letter specifically

   states that Rocky dale "will provide [] use of a [company] vehicle, including gas, maintenance, and

   insurance, for business travel only." . Offer Letter at 1.

          Under Virginia law, which the parties agree applies in the instant case, the interpretation of

   a contract presents a question oflaw. Babcock & Wilcox Co. v. Areva NP, Inc., 788 S.E.2d 237,

   243 (Va. 2016). "[T]he primary focus in considering disputed contractual language is for the

   court to determine the parties' intention, which should be ascertained, whenever possible, from the

   language the parties employed in the contract." Va. Elec. & Power Co. v. Norfolk S. Ry. Co., 683

   S.E.2d 517, 525 (Va. 2009). '"Consequently, if such contractual language is unambiguous,' a

   court 'does not apply rules of construction or interpretation,' but 'simply give[s] the language its

   plain meaning."' Va. Elec. & Power Co. v. Bransen Energy, Inc., 850 F.3d 645, 654 (4th Cir.

   2017) (quoting Seoane v. Drug Emporium, Inc., 457 S.E.2d 93,96 (Va. 1995)); see also Donnertv.

   Feld Entm't, Inc., No. 1:13-cv-00040, 2013 U.S. Dist. LEXIS 197934, at *9 (E.D. Va. June 14,

                                                      11


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 11 of 17 Pageid#: 278
   2013) (emphasizing that evidence of custom or usage cannot be used to alter the clear terms ~fa

   contract) (citing Walker v. Gateway Milling Co., 92 S.E. 826 (Va. 1917)). When determining the

   plain meaning of contractual terms, "the words used are given their usual, ordinary, and popular

   meaning." Pocahontas Mining LLC v. Jewel Ridge Coal Corp., 556 S.E.2d 769, 772 (Va. 2002).

           Applying these principles, the court concludes that the term "business travel" is clearly

   distinct from, and does not include, commuting to and from work. 2 See, e.g., Bartolomucci v.

   Fed. Ins. Co., 770 S.E.2d 451,456-58 (Va. 2015) (holding that "the ordinary meaning of'business

   affairs' refers to a legal entity's income-producing activities" and that "[a] morning commute by a

   law firm partner from home to work does not constitute 'use[]' of the partner's vehicle 'in' a law

   firm's business ... affairs"); Ross v. Bryan, 309 F.3d 830, 834 (4th Cir. 2002) (observing that

   "comllluting or the mere act of traveling to work [is] not a natural incident of an employer's

   business" in Virginia).(intemal quotation marks omitted); In re Phillips, 362 B.R. 284, 305 (Bankr.

   E.D. Va. 2007) (concluding that the use of an automobile for commuting purposes is "not a

   business use"); Business travel, WIKIPEDIA, https://en.wikipedia.org/wiki/Business_travel (last

   visited May 20, 2019) (defining "business travel" as "travel undertaken for work or business

   purposes, as opposed to other types of travel, such as for leisure purposes or regularly commuting

   between one's home and workplace"). Accordingly, Perdue has no viable claim for breach of

   contract based on the terms of the offer letter.

           Perdue alternatively claims that Rockydale breached an alleged oral agreement by failing

   to provide her with a company vehicle for commuting purposes and by failing to give her a

   $17,000 raise after six months of employment. To the extent such claim is based on statements

   allegedly made in June of 2014, when the plaintiff was hired by Rocky dale, the claim is clearly


           2
             The plaintiffs own complaint distinguishes between these terms. See Compl. ~ 8 ("Perdue's
   predecessor, Cooper Maxey, had use of a company truck for business travel and his work commute.") (emphasis
   added).
                                                       12


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 12 of 17 Pageid#: 279
   time-barred. In Virginia, a three-year statute of limitations applies to contract actions based on an

   oral contract. Va. Code § 8.01-246. The statute begins to run "when the breach of contract

   occurs."       Va. Code § 8.01-230.    "If the alleged breach is a single continuous breach, the

   limitations period runs from the inception of that breach, even when the breach continues for

   years." Fluor Fed. Solutions, LLC v. PAE Applied Techs., LLC, 728 F. App'x 200,203 (4th Cir.

   2018) (internal quotation marks omitted); see also Westminster Investing Corp. v. Lamps

   Unlimited, Inc., 3 79 S.E.2d 316, 318 (Va. 1989) (rejecting the contention that "a new cause of

   action" accrued every day the defendant breached a contract during a seven-year period); Hunter v.

   Custom Bus. Graphics, 635 F. Supp. 2d 420, 433 (E.D. Va. 2009) (explaining that the breach of

   contract occurred when the defendant stopped paying the plaintiff at the commission rate set forth

   in the employment agreement and that "each subsequent failure to pay did not constitute a new

   breach").

            Applying these principles, it is clear from the complaint that Rockydale breached both of

   the alleged promises no later than January of 2015, when it failed to provide Perdue with "a

   company truck for commuting, and ... a $17,000.00 raise after 6 months of employment."

   Campi.     ~   106. Perdue did not file the instant action until August of 2018. Consequently, the

   court concludes that the statute of limitations bars any claim for breach of contract based on oral

   promises allegedly made at the time she was hired.

            In an effort to avoid dismissal, Perdue argues that the alleged promises were repeated by

   Rocky dale in August of 2016 and that her claim for breach of contract is also based on the more

   recent promises. See Pl.'s Br. in Opp'n 21, Dkt. No. 13. The problem with this argument is

   two-fold. First, the complaint does not make clear that Count IV is based on oral promises that

   were made in August of2016. See Compl. ~~ 105-109. Second, the complaint is devoid of any

   allegations suggesting that Chris Willis, the "supervisor" who purportedly assured Perdue that she

                                                     13


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 13 of 17 Pageid#: 280
   would receive a raise and a truck for commuting purposes, Compl. ~ 18, had actual or apparent

   authority to bind Rockydale to the alleged oral promises or otherwise modify the written terms of

   the plaintiffs employment. See Kern v. J.L. Barksdale Furniture Corp., 299 S.E.2d 365, 367 (Va.

   1983) (discussing apparent authority); see also Offer Letter at 1 (agreeing to provide a company

   vehicle "for business travel only"); Employee Handbook at 14 (providing that "[a]ll pay increases

   for employees shall be in writing"). For these reasons, the court concludes that the complaint fails

   to plausibly allege that Rockydale owed Perdue any legally enforceable obligation based on the

   statements made in August of2016. See Filak v. George, 594 S.E.2d 610, 614 (Va. 2004) ("The

   elements of a breach of contract action [include] (1) a legally enforceable obligation of a defendant

   to a plaintiff .... "). Consequently, Count IV is subject to dismissal.

          C.      CountV

          In Count V of the complaint, Perdue asserts a claim for intentional infliction of emotional

   distress ("liED"). Such claims are disfavored in Virginia and require proof of the following

   elements by clear and convincing evidence: (1) that "the wrongdoer's conduct was intentional or

   reckless"; (2) that "the conduct was outrageous or intolerable"; (3) that "there was a causal

   connection between the wrongdoer's conduct and the resulting emotional distress"; and (4) that

   "the resulting emotional distress was severe." Supervalu, Inc. v. Johnson, 666 S.E.2d 335, 343

   (Va. 2008). For the following reasons, the court concludes that the allegations in the complaint

   are insufficient to satisfy the second element.

          To satisfy the second element and survive a motion to dismiss, it is "not enough" for a

   complaint to describe conduct that is "'insensitive and demeaning.'" Eldib v. Bass Pro Outdoor

   World, LLC, 654 F. App'x 620,621 (4th Cir. 2016) (quoting Harris v. Kreutzer, 624 S.E.2d 24,34

   (Va. 2006). Instead, the conduct alleged in the complaint "must be 'so outrageous in character,

   and so extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

                                                     14


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 14 of 17 Pageid#: 281
   atrocious, and utterly intolerable in a civilized community."' Id. (quoting Harris, 624 S.E.2d at

   33). In other words, "only the most execrable conduct can give rise to the tort." Webb v. Baxter

   Healthcare Corp., No .. 94-1784, 1995 U.S. App. LEXIS 14534, at *17 (4th Cir. June 13, 1995).

          "The Fourth Circuit has acknowledged that under some circumstances, 'sexual harassment

   may give rise to a claim for intentional infliction of emotional distress."' Faulkner v. Dillon, 92

   F. Supp. 3d 493, 501 (W.D. Va. 2015) (quoting Paroline v. Unisys Corp., 879 F.2d 100, 113 (4th

   Cir. 1989), vacated in part on other grounds, 900 F.2d 27 (4th Cir. 1990)). In Paroline, however,

   the Court concluded that the course of sexually suggestive comments and inappropriate touching

   described by the plaintiff was not sufficiently outrageous. 879 F .2d at 113. The Court found that

   the facts in the case before it were distinguishable from those in Swentek v. USAIR. Inc., 830 F.2d

   552 (4th Cir. 1987), in which it had held that the alleged sexual harassment of a female flight

   attendant could support an liED claim under Virginia law. Id. In Swentek, the plaintiff"a1leged

   that for several years [the defendant] seized every opportunity to upset her with sexually abusive

   language and conduct," which included "repeated reference to her private parts," seeking her out

   to make "obscene comments," dropping his pants in the plaintiffs presence, and engaging his

   friends in "sexually molesting behavior." 840 F.2d at 562. Although "[t]he alleged harassment

   in Swentek could support a finding of 'outrageousness' under Virginia law," the Fourth Circuit

   concluded that the alleged harassment in Paroline "could not." Paroline, 89 F.2d at 113.

          After reviewing the complaint, the parties' arguments, and applicable caselaw, the court

   concludes that the conduct described by the plaintiff does not rise to the level of outrageousness

   required under Virginia law. Unlike Faulkner, on which Perdue relies, the conduct described in

   the complaint does not include the "solicitation of sexual favors," "repeated and unwanted

   physical contact," "offers of money for sexual acts," and other recurrent "advances and

   solicitations" by a manager or supervisor. See Faulkner, 92 F. Supp. 3d at 501-02 (concluding

                                                   15


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 15 of 17 Pageid#: 282
   that allegations of such behavior were sufficient to survive a motion to dismiss). Instead, the

   complaint depicts the type of"[i]nsenstive and demeaning conduct" or "verbal[] abuse" that courts

   have held does not approach the level of extreme or outrageous conduct necessary to sustain a

   claim of intentional infliction of emotional distress. 3 Harris, 624 S.E.2d at 34; ~also Webb,

   1995 U.S. App. LEXiS 14534, at *18 (concluding that the plaintiffs allegations of gender-based

   ridicule and humiliation by her boss were insufficient to state a claim for intentional infliction of

   emotional distress); Dwyer v. Smith, 867 F.2d 184, 194-95 (4th Cir. 1989) (holding that sexual

   harassment by a squad leader, which included sexual comments, accusations of sexual relations

   with other officers, and the placement of pornographic materials in the plaintiffs work mailbox,

   was not sufficiently outrageous); Lindsey v. Ricoh USA, Inc., No. 2:17 -cv-00464, 2018 U.S. Dist.

   LEXIS 69206, at *38 (E.D. Va. Apr. 24, 2018) (holding that a supervisor's frequent berating ofthe

   plaintiff."usiQg
                 .
                    expletives,
                       .    '
                                misogynistic themes, and sexually debasing language" did not rise to

   the level of outrageous conduct required under Virginia law); Coles v. Carilion Clinic, 894 F.

   Supp. 2d 783, 786-87, 796 (W.D. Va. 2012) (holding that allegations surrounding the use of

   racially abusive language and symbols were insufficient to satisfy the second element· of an

   emotional distress claim, where the plaintiff alleged that "he was frequently referred to by fellow

   employees as a 'nigger' and a drug dealer, subjected to the display of shackles and a noose in the

   workplace, subjected to references to the Ku Klux Klan and the lynching of a black man," advised

   by one manager "that he would never advance because he was a 'worthless nigger,"' and told by

   another manager ''that he was a 'lazy nigger,' and that the manager desired to terminate [the

   plaintiff] but 'could not figure out how to do it"'); Shiflett v. GE Fanuc Automation Corp.,


           3
            To the extent Count Vis based on the defendant's failure to provide a company vehicle for commuting
   purposes, the termination of the plaintiffs health insurance benefits, or the defendant's refusal to permit
   immediate access to the plaintiffs 40l(k) plan, the court concludes that such actions or omissions are not so
   extreme or outrageous that they support a claim for intentional infliction of emotional distress.

                                                        16


Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 16 of 17 Pageid#: 283
  3:95-cv-00073, 1996 U.S. Dist. LEXIS 14306, at *9-10 (W.D. Va. July 23, 1996) (holding that

  harassing comments and other conduct that included falsely accusing the plaintiff of sexual

  harassment did not rise to the level of outrageousness required to withstand dismissal).

         In short, the conduct described in the complaint, while "no doubt reprehensible,"

  "unmannered," and ''uncouth," does not meet the "extremely stringent standard" applicable to

  claims of intentional infliction of emotional distress. Id.   For this reason, ·the court concludes

  that Count V fails to state a claim upon which relief can be granted.

                                              Conclusion

         For the reasons stated, the defendants' motion to dismiss will be granted in part and denied

  in part. The Clerk is directed to send copies of this memorandum opinion and the accompanying

  order to all counsel of record.
                             L
         DATED: This E_ day ofMay, 2019.




                                                  Senior United States District Judge




                                                   17

Case 7:18-cv-00416-GEC Document 31 Filed 05/22/19 Page 17 of 17 Pageid#: 284
